Case 1:18-cv-09158-NLH-KMW Document 4-2 Filed 09/13/18 Page 1 of 2 PagelD: 24

TURBO

 

 

pe aca UNITED STATES DISTRICT COURT
—— = DISTRICT OF NEW JERSEY
ALUMINUM SHAPES, LLC, BT AL Docket Ne. 1:18-CV-09158-NLH-KMW
DEFENDANT
Person to be Served
AFFIDAVIT OF SERVICE

JACKY CHEUNG
90900 RIVER ROAD
DELAIR, NJ 08110

{For Use By Private Service)

Papers Served: SUMMONS AND COMPLAINT, JURY DEMAND, PROOF OF SERVICE, CCS
Service Data:

Served Successfully _X_ Not Served __—s_——sé‘éiDttle@:: 05/24/2018 Time:_8:22 AM Attempts:
Delivered a copy to him/her personally Name of person served and relationship / title:
ALBERTO CASTRO
Left a copy with a competent household
member of over 14 years of age residing SECURITY GUARD

therein.

Left a copy with a person authorized to
X accept service, ¢.q. Managing agent,
registered agent, etc.

Description of Person Accepting Service:
SEX: MALE COLOR: HISPANIC HAIR: BROWN APP.AGE:

OTHER:

56 APP, HT: 5/10 APP, WT: 180

Comments Or Remarks:
I, JOSEPH RUSSO, was at the time of service a

competent adult not having a direct interest in
the litigation, I declare under penalty of

perjury that the foregoing is true and correct.
Sworn to before me this TS >
f ante, .

2 day o 2018
Signature4ef Process Server Date

 

Client File Number:

NJLS Process Service
2333 U.S. Hwy 22 West
Union, NJ 07083
908-696-7300

 
 

   
  

ANCIS P MEYERS
FR Notary Public
State of New Jarsty 9,2 020

My Commission Expires Jun 4

   

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Gase 1:18-cv-09158-NLH-KMW Document 1-3 Filed 05/19/18 Page 2 of 2 PagelD: 14

AO 440 (Rev, 129) Suamnoes tn « Civil Action (Fuge 2)

 
 

 

 

Civil Action No.

PROOF OF SERVICE -
(This section should not be fited with the court unless regudlred by Fed, R. Civ. P. 4)

This summons for (hame of individual and title, if'any) Tacky CHEUH E

was recelved by me on (date) Say &

© I personally served the summons on the individual at glace)

 

 

onfdiatey =. str

& [left the summons at the individual's residence or usual place of abode with (name)
, @ person of suitable age and discretion who resides there,
Ol (dete) = + Reitman 2 Copy) t> ib ii te enon Sem or

 
 

EF I served the summons on (name of indtiical) Aekétre ME AEC KILEY Gout eK
designated by law to accept service of process on behalf of (name of organteation) SACK Y
LIHEUNS on fate) gee/y & 50k

0) Yretumed the summons unexecuted because sor
Other Apacif):
Myfeesere$ for travel and § for services, for a total of$ 0.00

 

I declare under penalty of perjury that this information is true.

bee 2-9 -/F | tage A [ese

Server's signature

Josepr fisse Freegst Server
Printed name and title

 

Met ysrrnit-hut, Sarre spe Ch eceblree MI shoo $

Server's address

Additional information regarding attempted service, ete:
